                                                                              CLEAR FORM
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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                       CASE NUMBER

Andres Ramirez
                                                                                     2:17-cv-08580-JAK-SS

                           v.                        Plaintiff(s)


City of Los Angeles et al                                                       NOTICE OF ASSIGNMENT
                                                                                 OF PANEL MEDIATOR
                                                 Defendant(s).


Rick Copeland                                  is assigned to serve as the Panel Mediator in the above
captioned case. This assignment is made because:
       ✔   The parties have stipulated to appointment of the Panel Mediator.

           The ADR Program staff has assigned the Panel Mediator.

The mediation in this case is to be completed no later than:
       ✔   February 8, 2018                        , as ordered by the assigned judge.

           forty-five days prior to the final pretrial conference, consistent with Civil L.R. 16-15.2.

Counsel shall familiarize themselves with the requirements of General Order No. 11-10 which governs
the ADR Program. Within thirty (30) days of this Notice, the Mediator will communicate with counsel
to set the date of the mediation within the time requirements set forth above. See General Order No.
11-10, §8.1.

Counsel are reminded that the written mediation statements which may be required by the Mediator
(see General Order No. 11-10, §8.4) shall NOT be filed with the Court. Counsel are further reminded
that each party shall appear at the mediation in person or by a representative with final authority to
settle the case. See General Order No. 11-10, §8.5.


                                                             Clerk, U.S. District Court


Dated: April 25, 2018                                        By:       Gail Killefer
                                                                      ADR Program Director

ADR Program Office to electronically file original and cc: Mediator



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